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                            UNITED STATES DISTRICT CO URT
                            SO UTH ER N DISTRICT O F FL ORIDA
                          CASE NO .18-20141-cr-M OO RE/SIM ON TO N

   U NITED STATES O F A M ER ICA



   JUAN CARLO S R OD RIGU EZ,
        a/k/a GEID octor,''

                       Defendant.
                                      /

                                          FACTU AL PRO FFER

          TheUnitedStatesAttorney'sOfficefortheSouthernDistrictofFlorida(.ûthisOfGce''land
   Juan CarlosRODRIGUEZ,a/k/a iûEIDoctor,''(hereinafterreferred to astheb:defendant'')agree
   and representthat,ifthism atterw eto proceed to trial,the United Stateswould prove thefollow ing

   facts beyond a reasonable doubt:

                 Title 50,CodeofFederalRegulations,Section l0.13 listsspeciesofm igratory birds

   in alphabetical order. The list includes Puerto Rican Spindalises (Spindalis portoricensis),
   Northern Cardinals (Cardinalis cardinalis),Puerto Rican Bullfinches(foxlkilla portoricensis),
   Yellow-faced Grassquits (Tiaris olivaceus),Blue Jays(Cyanocitta cristata),Blue Grosbeaks
   (Passerinacaerulea),Indigo Buntings(Passerinacyanea),Cooper'sHawks(Acci
                                                                         pitercooperii),
   Bobolinks (Dolichonyx oryzivorus),Red-shouldered Hawks(Buteo lineatus),Gray Catbirds
   (Dumetellacarolinensis),Painted Buntings(Passerina ciris),SummerTanagers(Pirangarubral'
   somespeciesofScreech-owlsWenusMegascops),andSharp-shinnedHawks(Accl
                                                                     piterstriatus).
          2.     On M ay 28,2014,an undercoverspecialagent(hereinafterreferredto asa-:U/C'-)
   visited a website w here individuals advertise m igratory birds for sale. The U/C observed an

   advertisem entoffering the sale ofm igratory bird posted by som eone calling him self-tEIDoctor.'-
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   The U/C called the phone num ber associated w ith the advertisement,spoke to :ûEIDoctor,'-and

   arranged forthe purchase ofSpindalisesatthe residence ofûtElDoctor.'' Laterthatday,the U/C

   went to the residence and m et ûûEI Doctor,''who proved to be RO DRIG UEZ. In a recorded

   encounter, the         purchased a Puerto Rican Spindalis (Spindalis portoricensis) from
   RODRIG UEZ. D uring the sale,ROD RIGU EZ stated that he had sold 60 N orthern Cardinals

   (Cardinaliscardinalis)toabuyerinCaliforniathepreviousweek.
   TRA PS

                  The U/C returned to the residence of RO DRIG UEZ on m ultiple occasions to

   purchase m igratory birds. On m any ofthese occasions,the U/C observed bird traps deployed

   w ith baitbirds and birdseed. Bird traps are com m only constructed of wood or Iight wire and

   consistof m ultiple pitfalldoors baited w ith seed and typically utilize a f'baitbird'-to lure w ild

   birds into the trap. The baitbird itself istypically a previously captured w ild m igratory bird of

   w hateverspecies isbeing targeted;how ever,bird trapscatch birds indiscrim inately. O nce in the

   trap,the captured bird cannotescape.

                  On June 6, 2014, ROD RIGU EZ stated that he has used traps to catch Blue

   Grosbeaks (Passerina caerulea),Rose-breasted Grosbeaks (Pheucticus ludovicianus),Indigo
   Buntings(PasserinaCyanea),PaintedBuntings(Passerinaciris),NorthernCardinals(Cardinalis
   cardinalisj,and Blue Jays(Cyanocitta cristata). The U/C observed two trapped Northern
   Cardinals(Cardinaliscardinalis)inthecagesthatday. RODRIGUEZ askedwhetherthe U/C
   wasinterested inNorthernCardinals(Cardinaliscardinalis),andwhentheU/C responded inthe
   affirm ative,RODRIG UEZ stated thathe would deploy m oretrapsand call.

                  Onanotheroccasion (November12,20l5),RODRIGUEZ stated totheU/C thathe
   deploys bird trapping cages on eightto ten differentfarm s.
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   M IST N ETS

                 During several undercover purchases of m igratory birds at ROD RIGU EZ'S

   residence,the U/C observed Sim ist nets-'and m istnetpoles. On July l6,2014,RO DRIG UEZ

   showed the U/C twelve m ist nets ready for the m igration season that he stated constituted a

   com bined totalof 1,200 feetofnetting. On A ugust20,20 l4,the U/C purchased three m istnets

   and pole sets from RO DRIG U EZ. O n August30,2016,RO DRIG UEZ showed the U/C three

   m istnets mounted to m istnetpolesthathe claim ed were ready fordeploym ent. On Septem ber

   9,2016,the U/C again observed a m istnetm ounted on a setofpolesatROD RIG UEZ'Sresidence.

   On September l4, 2016, the U/C observed m ist net poles protruding from the backseat of

   RO DRIG UEZ'Struck. O n M arch 20,2018,ROD RIG UEZ again showed the U/C three m istnets

   on setpolesready fordeploym ent.

                 M istnets are soft,pliable nets thattrap birds and are used for scientific research.

   Current scientific literature suggests that appropriate use of m ist nets does not harm birds.

   A ppropriate usage involves m onitoring the nets and rem oving entangled birds quickly and

   carefully afterthey becom e entangled.

          8.     On July l6,2014,RO DRIG UEZ described hisusage ofm istnets. RO DRIGU EZ

   stated he goes to sugarcane fields and suntlowerfieldsand sets up a netacrossthe entire field.

   He then drivesthe birdsinto a netusing a truck. He stated thatthe yearbefore,he and two other

   individuals wentto a Geld and captured 203 Indigo Buntings (Passerina Cyanea),countless
   Painted Buntings(Passerina ciris),and otherbirdsin theirnets. He stated thatthey stuffed the
   birds into feedbags Iike sardines in a can and drove them to RODR IGU EZ'S house. He stated

   thatm any birdswere lostto w ild dogsand catsbefore they could rem ove the birdsfrom theirm ist

   nets. He stated thatthere w ere so m any birdsthathe divvied them up among aIlthree trappers.
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                 During other recorded conversations,ROD RIG UEZ stated that he uses another

   trapping technique known as %Q
                                pegav'' which is the Spanish translation for Sûstick-um ''to trap

   Bobolinks(Dolichonyx olyzivorus). Pega isan adhesive coating thattrappersapplyto sticksor
   bare branches,known as bûlim esticks,''and deploy in bird perching areas. W hen a bird lands on

   the Iim estick,thepega trapsthe bird by adhering its feetto the stick. Any partofthe bird that

   touchesthe pega w illadhere to the lim estick. Pega indiscrim inately traps birds and can cause

   their death or injury. RODRIGUEZ stated that he uses W D-40 to extricate Bobolinks
   (Dolichonyxoryzivorus)from Iimestickscoatedwithpega.
          l0.    RODRIGUEZ had Bobolinks(Dolichonyxoryzivorus)forsale. On September9,
   2016,the U/C purchased two Bobolinks (Dolichonyx oryzivorus)from RODRIGUEZ during a
   recorded undercoverencounterathisresidence.

   PU ERTO RICO

          ll.    During otherrecorded conversations,ROD RIG UEZ discussed selling and bartering

   m igratory birdsto and w ith buyersin Puerto Rico. RO DRIG UEZ stated thathehasdone business

   withassociatesin Puerto Ricoforovertenyearsand hadsold250Northern Cardinals(Cardinalis
   cardinalis)to buyersthere.
          12.    On October 19,2016,RO DRIG UEZ received three cardboard boxes of Iive birds

   from a shipperin Puerto Rico

                 On October20,2016,in exchange,RO DRIG UEZ shipped him three Gray Catbirds

   (Dumetella carolinensis),six Painted Buntings (Passerina ciris),and three Northern Cardinals
   (Cardinaliscardinalis).
   KN OW LEDG E O F ILLEGA LITY
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          l4.    RO DRIG UEZ m ade severalstatem ents dem onstrating hisaw arenessthattrapping

   and trafficking m igratory birds is illegal. During a recorded purchase of m igratory birds from

   RO DRIG UEZ,RO DRIG UEZ stated thathe w asselling allofhisbirdsand equipm entbecause he

   w asin the processofa divorce from hisw ife and did notwantherto be ableto exertleverage over

   him by inform ing law enforcem ent of his bird trafficking. During anotherrecorded encounter,

   RO DRIG UEZ stated thattrapping an owlcould costsom eone -k5,000 years''ofincarceration. He

   latersold the U/C a Screech-owl(genus Megascops). During another recorded encounter,
   RO DRIG UEZ stated thatm istnetsare illegaland that,when heusesthem ,he hasto w atch outfor

   çûFish and W ildlife.'' D uring anotherrecorded encounter,RO DRIG UEZ stated thatw hen he w ent

   trapping,he loaded the nets and bird traps into the back ofhis truck and covered the equipm ent

   w ith a drapeto avoid detection. Additionally,ROD RIG UEZ used a fake nam e forthe shipm ents

   to and from Puerto Rico.

   M IG RATORY BIRDS PURCHASED FROM RO DRIG UEZ

          15.    In total,the U/C purchased the follow ing approxim ate num bersofm igratory birds

   from ROD RIG UEZ during eighteen separate recorded encounters:

                     a. 5 Puerto Rican Spindalises(Spindalisportoricensisj;
                     b. 156Northern Cardinals(Cardinaliscardinalis);
                     c. 2 Puerto Rican Bullfinches(Loxigillaportoricensisj;
                     d. 3 Indigo Buntings(Passerina cyanea);
                     e. 7Cooper'sHawks(Acci    pitercooperii);
                     f. l Bobolinks(Dolichonyxoryzivorus);
                     g. 3 Red-shouldered Hawks(Buteo lineatusl;
                     h. lSummerTanager(Pirangarubra);
                     i. lScreech-owl(genusMegascops);and
                     j. 1Sharp-shinnedHawk(Acclpiterstriatus).
   TheU/C spentapproximately$10,715on theseundercoverpurchases.
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                 In particular,on N ovem ber 9,20l6,the U/C purchased 29 N orthern Cardinals

   (Cardinalis cardinalis),l Puerto Rican Spindalis (Spindalisportoricensis),l SummerTanager
   (Piranga rubra),2 Cooper's Hawks (Acci
                                        piter cooperii),one Red-shouldered Hawk (Buteo
   lineatus),and one Screech-owl(genusM egascops).
           l7.   On N ovem ber l4, 20l6, the U/C purchased 1 Sharp-shinned Hawk Acci
                                                                                   p iter

   striatus).
           l8.   ROD RIGU EZ stored m any otherm igratory birdsforsale and barterin cagesbehind

   his residence. RO DRIG UEZ offered the U/C m any other m igratory birds for sale during the

   course ofthe recorded undercoverm eetingsand phone calls.

           19.   ThreeoftheCooper'sHawks(Acci
                                            pitercooperii)andtwooftheRed-shouldered
   Hawks(Buteo lineatus)weredead atthetimeofpurchase.
                 Som e of the purchased m igratory birds w ere in poor health, showed signs of

   distress,ordied shortly afterpurchase.

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                                             UN ITED STATES ATTO RN EY


   Date:           l                  By:                                -
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                                               SS TAN T UN ITED STA TES ATTO RN EY


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                                             ATTO RN EY FO R DEFEN DA NT

   Date:         lé t%                 By:
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